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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



     Robert PANTON,
                    Petitioner,                    Civil Action No. 1:25-CV-02451
            v.                                     DECLARATION OF ASSISTANT FIELD OFFICE
     WILLIAM JOYCE, et al.,                        DIRECTOR ALBERTO MORALES

                   Respondents.

         Pursuant to 28 U.S.C. § 1746, I, Alberto Morales, hereby declare as follows:

1.       I am employed with the U.S. Immigration and Customs Enforcement (“ICE”), Enforcement

         Removal Operations (ERO) within the U.S. Department of Homeland Security (“DHS”). I

         am an Assistant Field Office Director at 26 Federal Plaza, New York, NY. I have served in

         this capacity since September 2017. As Assistant Field Office Director, I oversee matters

         related to the removal of aliens in immigration proceedings.

2.       I have prepared this declaration in connection with a Petition for a Writ of Habeas Corpus

         filed by the petitioner, Robert Panton (Panton). Panton has been assigned the following

         Alien Number: 031-257-320. I make this declaration in my official capacity and the

         following representations are based on my review of Panton’s administrative file,

         consultation with my colleagues, and ICE electronic records and databases.

3.       Panton is a native and citizen of Jamaica who was admitted to the United States as a lawful

         permanent resident on October 28, 1970.

4.       On May 25, 1994, Panton was convicted in the United States District Court, Southern

         District of New York of the offense of Conspiracy to Possess with Intent to Distribute




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     Heroin, in violation of 21 U.S.C. §§812, 841(a)((1), 841(b)(1)(A), 846. Panton was

     sentenced to life imprisonment.

5.   On August 4, 2020, the United States District Court, Southern District of New York granted

     Panton’s motion to reduce his sentence to time served plus one week pursuant to 18 U.S.C.

     § 3582(c)(1)(A).

6.   On August 11, 2020, Panton was taken into ICE custody in Kentucky immediately

     following his release from the Bureau of Prisons and personally served with a Notice to

     Appear (NTA), charging him as removable from the United States pursuant to 8 U.S.C.

     § 1227(a)(2)(A)(iii) for having been convicted of an aggravated felony as defined in 8

     U.S.C. § 1101(a)(43)(B) and 8 U.S.C. § 1227(a)(2)(A)(ii) for having been convicted of an

     aggravated felony as defined in 8 U.S.C. § 1101(a)(43)(U). The NTA is attached as Exhibit

     A.

7.   Based on the charges in the NTA, ICE determined that Panton was subject to mandatory

     detention and was held without bond pursuant to 8 U.S.C. § 1226(c)(1)(B) for having been

     convicted of an aggravated felony under 8 U.S.C. § 1227(a)(2)(A)(iii).

8.   The initial master calendar hearing was held on August 28, 2020. At this hearing Panton

     appeared pro se and was granted a continuance to retain an attorney. Panton also appeared

     pro se in two subsequent master calendar hearings, September 11, 2020, and October 1,

     2020. Both hearings were continued to allow Panton the opportunity to retain an attorney.

9.   On October 27, 2020, the Immigration Judge sustained the charge of removability related

     to the aggravated felony conviction as defined in 8 U.S.C. § 1101(a)(43)(U). The other

     charge of removability was withdrawn by DHS. Panton claimed fear of returning to




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      Jamaica, and he was provided with, and he later filed, Form I-589, Application for Asylum,

      Withholding of Removal and Protection under the Convention Against Torture.

10.   On January 27, 2021, Panton’s individual hearing was held. He was represented by an

      attorney. After completion of testimony, the Immigration Judge denied all applications for

      relief and terminated Panton’s legal permanent resident status. Panton was ordered removed

      to Jamaica on January 27, 2021. The Immigration Judge’s order is attached as Exhibit B.

11.   On February 10, 2021, Panton appealed the Immigration Judge’s Order of Removal to the

      Board of Immigration Appeals (BIA).

12.   While the BIA appeal was pending, Panton was released from ICE custody on April 30,

      2021, under an Order of Recognizance, and he was advised to report to ICE on May 3, 2021.

13.   On May 3, 2021, Panton was enrolled onto the Intensive Supervision Appearance Program

      (ISAP) with GPS ankle monitoring.

14.   On June 23, 2021, the BIA dismissed Panton’s appeal of the Immigration Judge’s order of

      removal. The BIA decision is attached as Exhibit C.

15.   On July 22, 2021, Panton filed a petition for review of the BIA’s decision with the United

      States Court of Appeals for the Seventh Circuit.

16.   On August 26, 2021. Panton filed a request for deferred action with ICE. This request was

      granted on October 1, 2021, for a period of one year, with an expiration date of September

      30, 2022.

17.   On February 8, 2022, Panton filed a request for deferred action with ICE; that request for

      deferred action was denied on September 6, 2022. The denial document is attached as

      Exhibit D.




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18.   On September 16, 2022, Panton filed Form I-246, Application for Stay of Deportation or

      Removal (Form I-246), with ICE. In light of his then-pending petition for review, that

      request was granted on September 27, 2022, for a period of one year. The decision document

      is attached as Exhibit E.

19.   On December 21, 2022, Panton was placed on Order of Supervision (“OSUP”), which

      superseded his prior Order of Recognizance. The Order of Supervision imposed several

      conditions including appearing in person at a designated date, time and place upon ICE’s

      request and assisting ICE with obtaining any necessary travel documents. The OSUP is

      attached as Exhibit F.

20.   On June 15, 2023, the United States Court of Appeals for the Seventh Circuit denied

      Panton’s Petition for Review.

21.   On August 15, 2023, Panton filed another Form I-246 and a request to consider deferred

      action with ICE. On August 25, 2023, the request for stay of removal and deferred action

      was denied. Panton was granted, at ICE’s discretion, until March 26, 2024, the opportunity

      to arrange for his removal. This opportunity was contingent on Panton reporting to ICE on

      September 27, 2023, for evaluation and placement on Alternative to Detention (ATD)

      program with GPS monitoring. The decision document is attached as Exhibit G.

22.   On September 27, 2023, Panton was placed in full-service GPS monitoring until verification

      of his departure from the United States. On October 31, 2023, Panton’s GPS monitoring

      was removed, at his request based on medical complaints. Panton was then placed on a

      different ATD program.

23.   On January 5, 2024, Panton renewed his request for deferred action or in the alternative a

      stay of removal (Form I-246). This request was based on a pending I-918, Petition for U



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      Nonimmigrant Status, filed with U.S. Citizenship and Immigration Services (USCIS) on

      December 22, 2023.

24.   On January 10, 2024, ICE approved Panton’s request for deferred action until September

      26, 2024. The decision document is attached as Exhibit H.

25.   On April 12, 2024, Panton filed a Motion to Reopen (MTR) immigration proceedings with

      the BIA. Panton’s MTR remains pending with the BIA.

26.   On August 22, 2024, ICE received a new request for deferred action or in the alternative a

      stay of removal (Form I-246).

27.   On September 25, 2024, ICE granted the request for deferred action. Panton was granted

      deferred action until March 25, 2025. He was required to report in person at 26 Federal

      Plaza on March 25, 2025. The decision document is attached as Exhibit I.

28.   On January 6, 2025, Panton renewed his request for extension of deferred action.

29.   On February 5, 2025, ICE Health Service Corps (“IHSC”) issued a determination that

      research into the availability of health care specific to Panton’s medical needs has been

      conducted, and that such available care was able to be identified in Jamaica.

30.   On March 25, 2025, Panton’s request for extension of deferred action was denied. The

      denial is attached as Exhibit J.

31.   Also on March 25, 2025, ICE arrested Panton at his scheduled check-in at 26 Federal Plaza,

      New York NY. Panton was served with a Notice of Revocation of Release informing him

      that he will be kept in ICE custody pursuant to the outstanding order of removal issued on

      January 27, 2021. Panton as also given an informal interview upon revocation under 8

      C.F.R. § 241.4(l) and 8 C.F.R. § 241.13(i). The Notice of Revocation of Release is attached

      as Exhibit K.



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32.   On March 25, 2025, IHSC medically cleared Panton for custody. Bed space was requested

      at Orange County Jail as well as the Buffalo Service Processing Center. After review of

      Panton’s medical records and consideration of whether they could accommodate him,

      Orange County Jail declined the request and the Buffalo Service Processing Center

      approved the request.

33.   On March 25, 2025, Panton filed a motion with the BIA seeking an emergency stay of

      removal. This motion remains pending with the BIA.

34.   On March 25, 2025, Panton was transferred to Batavia, NY for detention at Buffalo Service

      Processing Center. ICE has agreed to keep Panton at Batavia while awaiting removal and

      will, when permitted and able, remove him as soon as practicable directly from Batavia.



I declare under penalty of perjury that the foregoing is true and accurate.

Executed at New York, NY
                                                     ALBERTO          Digitally signed by ALBERTO
This Friday, March 28, 2025                          MORALES JR
                                                                      MORALES JR
                                                                      Date: 2025.03.28 10:10:40 -04'00'
                                                      _________________________
                                                      Alberto Morales
                                                      Assistant Field Office Director
                                                      U.S. Immigration Customs Enforcement
                                                      U.S. Department of Homeland Security




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